      Case 2:07-cr-20168-JWL          Document 1104         Filed 11/03/09    Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )
              v.                    )                  Case No. 07-20168-12-JWL
                                    )
KEENAN J. RINGGOLD,                 )
      a/k/a “CANO”,                 )
                        Defendant.  )
____________________________________)

                          FINAL ORDER OF FORFEITURE
                    AND IMPOSITION OF FORFEITURE JUDGMENT

       WHEREAS, on January 20, 2009, Defendant Keenan Ringgold entered into a Plea

Agreement with the United States in which the Defendant agreed that $10,750,000.00 in proceeds

was obtained from the offense alleged in Count 1 of the Superseding Indictment for which the

Defendant has pled guilty;

       WHEREAS, the United States has filed a Motion for Entry of Final Order of Forfeiture

which seeks the imposition of a personal forfeiture money judgment against the Defendant in the

amount of $10,750,000.00; and

       WHEREAS, Rule 32.2(c)(1) provides that "no ancillary proceeding is required to the extent

that the forfeiture consists of a money judgment;"

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that , pursuant to 21 U.S.C.

§ 853 and Fed.R.Crim.Pro. 32.2, a personal forfeiture money judgment is hereby imposed against

the Defendant in the amount of $10,750,000.00 jointly and severally with the co-defendants who are

convicted on Count 1.

       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order.
      Case 2:07-cr-20168-JWL          Document 1104        Filed 11/03/09     Page 2 of 2




       IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall

become final as to the defendant at the time of sentencing, and shall be made part of the sentence

and included in the judgment; and

       IT IS FURTHER ORDERED that the United States may, at any time, move pursuant to Rule

32.2(e) to amend this Order of Forfeiture to substitute property having a value not to exceed

$10,750,000.00, to satisfy the money judgment in whole or in part.


       SO ORDERED this 3rd day of November, 2009.



                                             s/ John W. Lungstrum
                                             JOHN W. LUNGSTRUM
                                             UNITED STATES DISTRICT JUDGE




                                                2
